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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

COUNTY OF HARRIS,                      Case No.: __________

                 Plaintiff,

     vs.

PURDUE PHARMA L.P.; PURDUE
PHARMA INC.; THE PURDUE FREDERICK
COMPANY; PURDUE
PHARMACEUTICALS L.P.; CEPHALON,
INC.; TEVA PHARMACEUTICAL
INDUSTRIES, LTD.; TEVA
PHARMACEUTICALS USA, INC.;
JANSSEN PHARMACEUTICALS, INC;
JOHNSON & JOHNSON; ORTHO-MCNEIL-
JANSSEN PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.;
ENDO HEALTH SOLUTIONS INC.; ENDO
PHARMACEUTICALS, INC. a wholly-owned
subsidiary of ENDO HEALTH SOLUTIONS
INC.; ABBOTT LABORATORIES; KNOLL
PHARMACEUTICAL COMPANY, a wholly-
owned subsidiary of ABBOTT
LABORATORIES; ALLERGAN PLC f/k/a
ACTAVIS PLC; ALLERGAN FINANCE LLC
f/k/a ACTAVIS, INC. f/k/a WATSON
PHARMACEUTICALS, INC.; WATSON
LABORATORIES, INC.; ACTAVIS
PHARMA, INC. f/k/a ACTAVIS, INC.;
ACTAVIS LLC; ALLERGAN SALES LLC;
ALLERGAN USA INC.; INSYS
THERAPEUTICS, INC.; INSYS
MANUFACTURING LLC; MCKESSON
CORPORATION; MCKESSON MEDICAL-
SURGICAL INC.; CARDINAL HEALTH,
INC.; CARDINAL HEALTH 110 LLC;
CARDINAL HEALTH 200 LLC; CARDINAL
HEALTH 414 LLC; AMERISOURCE
BERGEN DRUG CORPORATION;
MALLINCKRODT PLC; ADVANCED



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PHARMA, INC. d/b/a AVELLA SPECIALTY
PHARMACY and/or AVELLA OF
HOUSTON; NEXGEN PHARMA, INC.;
NEOS THERAPEUTICS BRANDS LLC d/b/a
NEOS THERAPEUTICS LP; MISSION
PHARMACAL COMPANY; FRESENIUS
USA MANUFACTURING INC.; FRESENIUS
KABI USA; ICU MEDICAL SALES INC.;
ICU MEDICAL INC.; MYLAN, INC.;
MYLAN SPECIALITY, LP.; MYLAN
PHARMS INC.; GAZELLE CRAIG, M.D.;
ARUN SHARMA, M.D.; KARIN SHARMA,
M.D.; RICHARD ARTHUR EVANS, M.D.;
DAVID DEVIDO;

                         Defendants.



               THE DISTRIBUTOR DEFENDANTS’ NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants AmerisourceBergen Drug

Corporation (improperly pled as “Amerisource Bergen Drug Corporation”), McKesson

Corporation, McKesson Medical-Surgical Inc., and the Cardinal Health Defendants1 (“Cardinal

Health”) hereby give notice of removal of this action, captioned County of Harris v. Purdue

Pharma, L.P., et al., bearing cause number 201782618, from the 133rd Judicial District Court of

Harris County, Texas, to the United States District Court for the Southern District of Texas,

Houston Division. Pursuant to 28 U.S.C. § 1446(a), the grounds for removal are as follows:

                                              BACKGROUND

        1.       On December 13, 2017, Plaintiff, the County of Harris, filed a Petition in the

133rd Judicial District Court of Harris County, Texas.                  McKesson Medical-Surgical Inc.,

Cardinal Health 414 LLC, and Cardinal Health 200 LLC received the Petition through service on
1
    The Cardinal Health Defendants include Cardinal Health, Inc., Cardinal Health 110 LLC, Cardinal Health 200
    LLC, and Cardinal Health 414 LLC. By filing this Notice of Removal, Cardinal Health, Inc., Cardinal Health
    200 LLC, and Cardinal Health 414 LLC do not concede that they are proper parties to this lawsuit. In addition,
    Cardinal Health, Inc. has not been properly served and expressly reserves all defenses related to personal
    jurisdiction and service of process.

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January 24, 2018. AmerisourceBergen Drug Corporation, McKesson Corporation, and Cardinal

Health 110 LLC received the Petition through service on January 25, 2018. Pursuant to 28

U.S.C. § 1446(a), a copy of all process, pleadings, and orders served on AmerisourceBergen

Drug Corporation, McKesson Corporation, McKesson Medical-Surgical Inc., Cardinal Health

110 LLC, Cardinal Health 414 LLC, and Cardinal Health 200 LLC is attached hereto as Exhibit

1.

         2.      The Petition asserts claims against the following Defendants2:

                 a.       “Manufacturer Defendants” — Purdue Pharma L.P.; Purdue Pharma Inc.;

The Purdue Frederick Company; Purdue Pharmaceuticals L.P.; Cephalon, Inc.; Teva

Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; Janssen Pharmaceuticals, Inc.;

Johnson & Johnson; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Endo Health Solutions

Inc.; Endo Pharmaceuticals, Inc. a wholly-owned subsidiary of Endo Health Solutions Inc.;

Abbott Laboratories; Knoll Pharmaceutical Company, a wholly-owned subsidiary of Abbott

Laboratories; Allergan PLC f/k/a Actavis PLC; Allergan Finance LLC f/k/a Actavis, Inc. f/k/a

Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis Pharma, Inc. f/k/a Actavis,

Inc.; Actavis LLC; Allergan Sales LLC; Allergan USA Inc.; Insys Therapeutics, Inc.; Insys

Manufacturing LLC; Mallinckrodt PLC; Advanced Pharma, Inc. d/b/a Avella Specialty

Pharmacy and/or Avella of Houston; NexGen Pharma, Inc.; Neos Therapeutics Brands LLC

d/b/a Neos Therapeutics LP; Mission Pharmacal Company; Fresenius USA Manufacturing Inc.;

2
     In its Petition, Plaintiff shifts between two methods of categorizing the Defendants. Initially, Plaintiff
     categorizes the Defendants by type, distinguishing Corporate Defendants and Individual Defendants.
     (Pet. ¶ 66.)       Elsewhere, Plaintiff categorizes the Defendants by pharmaceutical function,
     distinguishing manufacturing defendants, distributor defendants, and individual medical doctor or
     pharmacist defendants. (Id. ¶ 108.) For purposes of this Notice of Removal, the Defendants are
     categorized by their pharmaceutical function as either Manufacturer Defendants, Distributor
     Defendants, or individual Dealer Defendants.
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Fresenius Kabi USA; ICU Medical Sales Inc.; ICU Medical Inc.; Mylan, Inc.; Mylan Speciality,

LP; and Mylan Pharms Inc.

               b.      “Distributor Defendants” — McKesson Corporation; McKesson Medical-

Surgical Inc.; Cardinal Health, Inc.; Cardinal Health 110 LLC; Cardinal Health 200 LLC;

Cardinal Health 414 LLC; and AmerisourceBergen Drug Corporation.

               c.      “Dealer Defendants” — Gazelle Craig, M.D.; Arun Sharma, M.D.; Karin

Sharma, M.D.; Richard Arthur Evans, M.D.; and David Devido.

       3.      The Petition asserts three causes of action: (1) public nuisance and Texas common

law nuisance (against “all Defendants”); (2) civil conspiracy (against “all Defendants”); and (3)

negligence (against Manufacturer and Distributor Defendants). (Pet. ¶¶ 103-119.)

       4.      The Petition’s allegations against the Distributor Defendants are separate and

distinct from the allegations against the Manufacturer and Dealer Defendants.

       5.      The thrust of the Petition is that the Manufacturer Defendants engaged in a

marketing and promotional campaign based on misrepresentations about the risks of FDA-

approved prescription opioid medications. (Id. ¶¶ 2, 73-74.) Plaintiff alleges that, as part of this

marketing and promotional campaign, the Manufacturer Defendants employed seemingly

independent third-party health care organizations to espouse the virtues of opioid use and

disseminate false information regarding abuse and addiction. (Id. ¶¶ 90-95.) According to

Plaintiff, the Manufacturer Defendants’ marketing and promotional campaign caused

“exponential increase in opioid abuse, addiction, and death” which “required Harris County to

expend its limited resources to help those affected by this crisis and protect the community from

harms associated with the opioid epidemic.” (Id. ¶ 2.) Some of the Manufacturer Defendants

may be citizens of Texas.



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       6.      As to the Dealer Defendants—medical doctors and a pharmacist who are no

longer licensed to practice—Plaintiff alleges they engaged in criminal drug dealing by

unlawfully distributing opioid medications to consumers without any legitimate medical purpose.

(Id. ¶¶ 98-101.) The Dealer Defendants are citizens of Texas. (Id. ¶¶ 67-71.)

       7.      As for the Distributor Defendants, which simply “distribute[] pharmaceuticals to

retail pharmacies and institutional providers across the United States, including Texas and Harris

County,” (id. ¶¶ 33, 37, 41) Plaintiff alleges they failed to “monitor, detect, investigate, and

report suspicious orders of prescription opiates.” (Id. ¶ 116.) All of the Distributor Defendants

are citizens of states other than Texas.

       8.      The legal theories that Plaintiff asserts against the Manufacturer and Dealer

Defendants are therefore entirely different than those Plaintiff asserts against the Distributor

Defendants.     Further, the alleged misconduct underlying Plaintiff’s claims against the

Manufacturer and Dealer Defendants is entirely different than that underlying Plaintiff’s claims

against the Distributor Defendants.

       9.      On December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”)

issued an order creating a Multidistrict Litigation (“MDL”) that would include this case. See

Transfer Order, In re Nat’l Prescription Opiate Litig., MDL No. 2804, ECF 328 (Dec. 5, 2017)

(attached hereto as Exhibit 2). Since then, the JPML has transferred hundreds of additional

opioid-related actions to the MDL, and additional cases have been filed or removed directly into

the MDL court, for a total of more than 370 actions. See id. (transferring 62 actions to the

MDL); JPML Dkt. No. 368 (transferring 115 actions to the MDL); JPML Dkt. No. 401

(transferring eight actions to the MDL); JPML Dkt. No. 525 (transferring 37 actions to the

MDL); JPML Dkt. No. 546 (transferring 33 actions to the MDL); JPML Dkt. No. 601



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(transferring 44 actions to the MDL); JPML Dkt. No. 654 (transferring 16 actions to the MDL).

                                 VENUE AND JURISDICTION

        10.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 124(c)(3), 1391, 1441(a),

and 1446(a) because the 133rd Judicial District Court of Harris County, Texas, where the

Petition was filed, is a state court within the Southern District of Texas.

        11.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because

(1) there is complete diversity of citizenship between Plaintiff and all properly joined defendants;

(2) the amount in controversy exceeds $75,000, exclusive of interests and costs; and (3) all other

requirements for removal have been satisfied.

                                           ARGUMENT

I.      THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN PLAINTIFF
        AND THE DISTRIBUTOR DEFENDANTS.

        12.     There is complete diversity of citizenship here because Plaintiff is a Texas citizen

and all of the Distributor Defendants are citizens of states other than Texas, see Part I.A infra;

and the citizenship of the Manufacturer and Dealer Defendants is irrelevant for purposes of

diversity jurisdiction because they should be severed under Federal Rule of Civil Procedure 21 or

the procedural misjoinder doctrine, see Part I.B infra.

        A.      Plaintiff is Diverse from the Distributor Defendants.

                1.     Plaintiff is a citizen of Texas.

        13.     The County of Harris is a Texas citizen for purposes of diversity jurisdiction. See

Moor v. Alameda Cty., 411 U.S. 693, 721 (1973) (holding that Alameda County is a California

citizen for purposes of diversity jurisdiction); Pyramid Corp. v. DeSoto Cty. Bd. of Sup’rs, 366 F.

Supp. 1299, 1301 (N.D. Miss. 1973) (“[C]ounties are considered citizens for the purposes of

diversity.”).


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               2.       None of the Distributor Defendants is a citizen of Texas.

       14.     For purposes of diversity jurisdiction, a corporation is “a citizen of every State

and foreign state by which it has been incorporated and of the State or foreign state where it has

its principal place of business.” 28 U.S.C. § 1332(c)(1).

       15.     Applying this principle, none of the Distributor Defendants is a citizen of Texas.

       16.     AmerisourceBergen Drug Corporation is a corporation organized under the laws

of Delaware with its principal place of business in Chesterbrook, Pennsylvania. (Compl. ¶ 41.)

       17.     Plaintiff incorrectly alleges AmerisourceBergen Drug Corporation is domiciled in

Texas. (Id. ¶ 44.) Rather, as stated in the previous paragraph, AmerisourceBergen Drug

Corporation is a citizen of Delaware and Pennsylvania for purposes of diversity jurisdiction. See

Pennsylvania Business Entity Search for AmerisourceBergen Drug Corporation, PENNSYLVANIA

BUREAU OF CORPORATIONS AND CHARITABLE ORGANIZATIONS,

https://www.corporations.pa.gov/search/corpsearch (search “Business Entity” field for

“AmerisourceBergen Drug Corporation”; then follow “AmerisourceBergen Drug Corporation”

hyperlink) (attached hereto as Exhibit 3).

       18.     Cardinal Health, Inc. is a corporation organized under the laws of Ohio with its

principal place of business in Dublin, Ohio. (Compl. ¶ 37); see Ohio Business Entity Search for

Cardinal Health, Inc., OHIO SECRETARY OF STATE,

https://www5.sos.state.oh.us/ords/f?p=100:7:::NO:7:P7_CHARTER_NUM:535613 (attached

hereto as Exhibit 4).

       19.     Plaintiff incorrectly alleges that Cardinal Health 110 LLC, Cardinal Health 200

LLC, and Cardinal Health 414 LLC are domiciled in Texas. (Id. ¶ 40.) For purposes of diversity

jurisdiction, “the citizenship of a LLC is determined by the citizenship of all of its members.”

Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Cardinal Health 110
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LLC is wholly owned by Cardinal Health, Inc., which is a citizen of Ohio. See ¶ 18,

supra. Cardinal Health 414 LLC is wholly owned by Cardinal Health 100, Inc., which is an

Indiana corporation with its principal place of business in Ohio. See Indiana Business Entity

Search for Cardinal Health 100, Inc., INDIANA SECRETARY OF STATE,

https://bsd.sos.in.gov/publicbusinesssearch (search “Business Name” field for “Cardinal Health

100, Inc.”; then follow “198306-290” hyperlink) (attached hereto as Exhibit 5). Cardinal Health

200 LLC is wholly owned by Allegiance Corporation, which is a Delaware corporation with its

principal place of business in Ohio. See Delaware Business Entity Search for Allegiance

Corporation, DELAWARE DIVISION OF CORPORATIONS,

https://icis.corp.delaware.gov/ecorp/entitysearch/namesearch.aspx (search “Entity Name” field

for “Allegiance Corporation”; then follow “Allegiance Corporation” hyperlink) (attached hereto

as Exhibit 6). Accordingly, for purposes of diversity jurisdiction, Cardinal Health 110 LLC,

Cardinal Health 414 LLC, and Cardinal Health 200 LLC are citizens of Ohio, Indiana and Ohio,

and Delaware and Ohio, respectively. See 28 U.S.C. § 1332(c)(1).

       20.     McKesson Corporation is a corporation organized under the laws of Delaware

with its principal place of business in San Francisco, California. (Id. ¶ 33); see California

Business Entity Search for McKesson Corporation, CALIFORNIA SECRETARY OF STATE,

https://businesssearch.sos.ca.gov/ (select “Corporation Name” search type; then search “Search

Criteria” field for “McKesson Corporation”; then follow “McKesson Corporation” hyperlink)

(attached hereto as Exhibit 7).

       21.     Plaintiff incorrectly alleges McKesson Corporation and McKesson Medical-

Surgical Inc. are domiciled in Texas. (Id. ¶ 36.) Rather, as stated in the previous paragraph,

McKesson Corporation’s diversity citizenship is in Delaware and California. See ¶ 20, supra.



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McKesson Medical-Surgical Inc. is a Virginia Corporation with its principal place of business in

Virginia. See Virginia Business Entity Search for McKesson Medical-Surgical Inc.,

COMMONWEALTH OF VIRGINIA STATE CORPORATION COMMISSION,

https://sccefile.scc.virginia.gov/Business/0203641 (attached hereto as Exhibit 8).

         22.    Accordingly, all of the Distributor Defendants are citizens of states other than

Texas.

         B.     The Citizenship of the Manufacturer and Dealer Defendants Should Be
                Ignored.3

                1.      The Manufacturer and Dealer Defendants should be severed under
                        Rule 21.

         23.    Numerous courts have held that a plaintiff cannot evade federal diversity

jurisdiction simply by joining severable claims against non-diverse defendants. Even where the

face of a complaint shows a lack of complete diversity, removal based on diversity jurisdiction is

nonetheless proper if the claims against any non-diverse defendants are severable under Rule 21.

Beta Tech., Inc. v. State Indus. Prods. Corp., No. 06-735-SCR, 2008 WL 2782874, at *2 (M.D.

La. July 15, 2008) (“Federal Rule of Civil Procedure 21 empowers a district court to drop a

nondiverse party whose presence is not essential to the suit to preserve and perfect diversity

3
    Only one of the Manufacturer Defendants, Purdue Pharma, L.P. is a citizen of Texas. A separate
    matter, County of Hopkins v. Purdue Pharma, L.P. et al. (No. CV43486), originally filed in the 62nd
    Judicial District Court of Hopkins County, Texas, was removed on December 11, 2017, on the
    ground that complete diversity existed between the Plaintiff and the Manufacturer and Distributor
    Defendants. See County of Hopkins v. Purdue Pharma, L.P. et al., No. 4:17-cv-00845-ALM (E.D.
    Tex.) (ECF No. 1). The Plaintiff filed a Motion to Remand on December 14, 2017. Id. (ECF No. 7).
    Thereafter, it became known that Purdue Pharma, L.P. is a citizen of Texas, and the Court was
    informed of this development on December 19, 2017, by way of a Response of non-opposition to
    Plaintiff’s Motion. Id. (ECF No. 30). On December 19, 2017, the Distributor Defendants also filed a
    Response to Plaintiff’s Motion, asserting that complete diversity still remained between the Plaintiff
    and the Distributor Defendants and opposing remand as to the Distributor Defendants. Id. (ECF No.
    31). The next day, on December 20, 2017, the Court granted the Plaintiff’s Motion to Remand. Id.
    (ECF No. 33). The Court’s two-page memorandum and order did not mention or address the
    arguments raised by or the citizenship of the Distributor Defendants, and instead focused only on the
    citizenship of Purdue Pharma, L.P. See id.

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jurisdiction.”); Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 832 (1989) (“[I]t is well

settled that Rule 21 invests district courts with authority to allow a dispensable nondiverse party

to be dropped at any time.”).

       24.     Defendants are severable under Rule 21 if they are either unnecessary or

dispensable under Rule 19, or if the claims against them are sufficiently distinct from claims

against other defendants under Rule 20. Birdwell v. XTO Energy, Inc., No. 09-1564, 2010 WL

517909, at *2 (W.D. La. Feb. 10, 2010) (denying remand as to diverse defendants and severing

dispensable nondiverse parties; explaining that Rule 21 authorizes a court to “‘drop’ a party on

any terms that are just,” and this principle is “not limited . . . to cases of misjoinder” and applies

whenever the nondiverse parties “are dispensable”).

                       a.       The Manufacturer and Dealer Defendants are unnecessary and
                                dispensable parties under Rule 19.

       25.     Under a straightforward application of Rule 21, the Manufacturer and Dealer

Defendants should be severed from the Distributor Defendants to perfect diversity jurisdiction.

Plaintiff’s claims against the Distributor Defendants are that they failed to “monitor, detect,

investigate, and report suspicious orders of prescription opiates.” (Pet. ¶ 116.) These claims are

wholly distinct from the marketing and over-prescribing claims against the Manufacturer

Defendants (id. ¶¶ 2, 73-74 (allegations of deceptive marketing by Manufacturer Defendants))

and the Dealer Defendants (id. ¶¶ 98-101 (allegations of over-prescribing by Dealer

Defendants)). There is no overlap between the factual allegations against the Manufacturer and

Dealer Defendants, on the one hand, and those against the Distributor Defendants, on the other,

as would make the Manufacturer and Dealer Defendants necessary or indispensable to this

action. Indeed, the 15-page factual allegation sections of the Petition are solely about the

Manufacturer and Dealer Defendants and do not once mention the Distributor Defendants. There


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are no allegations about any specific omissions made by any Distributor Defendant and no

allegations about any representations made to anyone by any Distributor Defendant about opioid

medications.

       26.     Thus, resolution of Plaintiff’s claims against the Manufacturer and Dealer

Defendants plainly would not resolve its claims against the Distributor Defendants, and vice-

versa. See, e.g., Baxter, 614 F. Supp. 2d at 872 (non-diverse defendants unnecessary where “the

resolution of a claim against them would not necessarily resolve the [plaintiffs’] claim against”

the diverse defendant); Sullivan, 117 F. Supp. 3d at 707 (same); DeGidio, 2009 WL 1867676, at

*3 (same). If Plaintiff wants to pursue claims against the Manufacturer and Dealer Defendants,

it has an “adequate remedy . . . in state court.” Baxter, 614 F. Supp. 2d at 873.

       27.     Moreover, alleged joint tortfeasors like the Manufacturer and Dealer Defendants

are unnecessary parties as a matter of settled law. See Temple v. Synthes Corp., Ltd., 498 U.S. 5,

7-8 (1990) (holding that joint tortfeasors are not necessary parties under Rule 19); Niven v. E-

Care Emergency Mckinney, LP, No. 4:14-CV-00494, 2015 WL 1951811, at *2 (E.D. Tex. Apr.

10, 2015) (Mazzant, J.) (“It is well-settled that joint tortfeasors are not considered required or

indispensable parties under Rule 19.”) (citing Nottingham v. Gen. Am. Commc’n Corp., 811 F.2d

873, 880 (5th Cir. 1987)).

       28.     Severance is particularly appropriate in this case because it will allow the diverse

Distributor Defendants to benefit from the significant efficiencies to be gained from participation

in coordinated MDL proceedings in the Northern District of Ohio. See In re Nat’l Prescription

Opiate Litig., MDL No. 2804, Doc. 328 (Dec. 5, 2017 Transfer Order). Multiple courts have

recognized the importance of these efficiencies in severing non-diverse defendants and denying

remand as to diverse defendants.       E.g., Sullivan, 117 F. Supp. 3d at 707 (“Severance is



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particularly appropriate in this case because it would allow for the transfer of [plaintiff’s] claims

against the [diverse manufacturer] to Multi-District Litigation.”); Sutton v. Davol, Inc., 251

F.R.D. 500, 505 (E.D. Cal. 2008) (“Plaintiff’s claims against the [non-diverse] Defendants are

severed and remanded pursuant to Rule 21 . . . so as to preserve the removing Defendants’ right

to removal in the remaining multidistrict action and preserve the interests of judicial expediency

and justice so that all pre-trial discovery on the products liability case can be coordinated in a

single forum.”); see also Mayfield, 2015 WL 3440492, at *5; Baxter, 614 F. Supp. 2d at 873.

       29.     As one court explained in materially identical circumstances:

       The Court’s decision to sever . . . [the non-diverse healthcare provider] will not
       greatly prejudice [plaintiff], but failure to do so could subject [the diverse
       manufacturer defendant] to considerable prejudice. [Plaintiff] will be forced to
       pursue two separate suits, but it will not alone bear the administrative and
       financial burdens of pursuing its claims against [the manufacturer] in the MDL
       proceedings. For its part, [the manufacturer] could be exposed to numerous
       related suits if courts considering suits similar to this one refused to sever claims
       against [the manufacturer] from those against the providers that prescribed [the
       drug].

Cooke-Bates, 2010 WL 3984830, at *4 (internal citations omitted). In the circumstances here,

“forcing the [Distributor Defendants] to litigate . . . claims in state courts throughout the country

whenever and wherever the claims might be joined to claims against healthcare providers . . .

would defeat the entire purpose of the MDL.” Sullivan, 117 F. Supp. 3d at 707.

       30.     Though Plaintiff asserts some causes of action against all Defendants, severance

of the Manufacturer and Dealer Defendants is nevertheless appropriate. As multiple courts have

made clear, severance is driven not by the names of the plaintiff’s causes of action, but by the

distinct nature of the factual allegations underlying those claims, such that resolution of the

claims against non-diverse defendants would not necessarily resolve claims against the diverse

defendants. See, e.g., Baxter, 614 F. Supp. 2d at 872; Sullivan, 117 F. Supp. 3d at 707; DeGidio,



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2009 WL 1867676, at *3. It is indisputable that such circumstances presently exist. Severance

is thus particularly appropriate because “the claims ‘involve different legal standards and

different factual allegations.’” Kelly, 2013 WL 2358583, at *3.

                        b.      The Manufacturer and Dealer Defendants are also misjoined
                                under Rule 20.

        31.     The claims against the Manufacturer and Dealer Defendants are also misjoined

under Rule 20, which provides a distinct basis for severance. Rule 21 permits severance of claims

against the Manufacturer and Dealer Defendants that do not “aris[e] out of the same transaction,

occurrence, or series of transactions or occurrences” as the claims against the Distributor

Defendants. Fed. R. Civ. P. 20(a)(1)(A); see Loeffelbein v. Milberg Weiss Bershad Hynes &

Lerach, LLP, 2003 WL 21313957, at *5 (D. Kan. May 23, 2003) (“Rule 21 is a mechanism for

correcting . . . the misjoinder . . . of parties or claims” which “arises when the claims and parties

fail to satisfy any of the conditions of permissive joinder under Rule 20(a).” (citation omitted)).

Courts in this Circuit and other circuits have repeatedly denied remand as to diverse defendants

and severed claims against non-diverse defendants where the claims against the non-diverse

defendants were separate and distinct and arose from different transactions or occurrences. See,

e.g., Westley v. Progressive Specialty Ins. Co., No. 14-1410, 2014 WL 4489620, at *6 (E.D. La.

Sept. 10, 2014) (severing non-diverse defendant and denying remand as to diverse defendants

where the claims would “be decided based on entirely different evidence”).4

        32.     Here, there is no overlap between the factual allegations against Distributor

4
    See also Loeffelbein, 2003 WL 21313957, at *6 (severing non-diverse defendant and denying remand
    as to diverse defendants where the claims “arise from two different sets of facts”); Sutton, 251 F.R.D.
    at 502-05; Greene v. Wyeth, 344 F. Supp. 2d 674, 683 (D. Nev. 2004); DirecTV, Inc. v. Beecher, 296
    F. Supp. 2d 937, 945 (S.D. Ind. 2003) (severing misjoined claims under Rule 21 where plaintiff
    “allege[d] that many individuals have wronged it in the same way, but in separate transactions or
    occurrences”); Randleel v. Pizza Hut of Am., Inc., 182 F.R.D. 542, 543 (N.D. Ill. 1998) (severing
    misjoined claims where “the factual scenarios underlying each incident are different, the times are
    different, and the people involved are different” (footnote omitted)).

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Defendants, who are not alleged to market opioids, and Plaintiff’s marketing claims against those

parties who do market opioids—the Manufacturer Defendants.            Again, in its 15-pages of

allegations of fraudulent marketing and over-prescribing, Plaintiff never mentions the Distributor

Defendants. Though Plaintiff asserts some causes of action against all defendants, severance is

nevertheless appropriate because the factual basis for Plaintiff’s marketing claims against the

Manufacturer Defendants (alleged misleading promotion of opioid medications) and the

prescribing claims against the Dealer Defendant (alleged unlawful prescribing of opioids without

any legitimate medical purpose) is separate and distinct from the factual basis for Plaintiff’s

claims against the Distributor Defendants (alleged failure to prevent or reduce the distribution of

opioids). Thus, “[w]hile [Plaintiff] do[es] not distinguish between each of the defendants in the

individual counts of the petition, the counts clearly arise from two different sets of facts.”

Loeffelbein, 2003 WL 21313957, at *6 (severing non-diverse defendants and denying remand as

to diverse defendants); see also Nelson v. Aim Advisors, Inc., No. 01-CV-0282-MJR, 2002 WL

442189, at *3 (S.D. Ill. Mar. 8, 2002) (“Although Plaintiffs’ claims against all Defendants are

pled under the same legal theory, it is only in this abstract sense that Plaintiffs’ claims share

anything in common . . . [and] does not mean that there are common issues of law and fact

sufficient to satisfy Rule 20(a).”); In re Guidant Corp. Implantable Defibrillators Prods. Liab.

Litig., 2007 WL 2572048, at *1 & *4 (severing misjoined non-diverse defendants, even though

Plaintiff pleaded the same thirteen causes of action against the non-diverse and diverse

defendants, because the claims rested on different evidence).

               2.     The Manufacturer and Dealer Defendants have been fraudulently
                      misjoined.

       33.     As an alternative to severance under Rule 21, the citizenship of the Manufacturer

and Dealer Defendants should be ignored for purposes of diversity jurisdiction under the


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fraudulent misjoinder doctrine. Fraudulent misjoinder, also called procedural misjoinder, “refers

to the joining of claims into one suit in order to defeat diversity jurisdiction where in reality there

is no sufficient factual nexus among the claims to satisfy the permissive joinder standard.” Reed

v. Am. Med. Sec. Grp., Inc., 324 F. Supp. 2d 798, 803 n.8 (S.D. Miss. 2004) (citation and internal

quotation marks omitted); see also Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353, 1360 (11th

Cir. 1996), abrogated on another ground in Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th

Cir. 2000).

       34.     If the requirements for permissive joinder under Rule 20 are not satisfied, “joinder

is improper even if there is no fraud in the pleadings and the plaintiff does have the ability to

recover against each of the defendants.” Crockett v. R.J. Reynolds Tobacco Co., 436 F.3d 529,

533 (5th Cir. 2006) (citing Tapscott, 77 F.3d at 1360); see also In re Benjamin Moore & Co., 309

F.3d 296, 298 (5th Cir. 2002) (“[I]t might be concluded that misjoinder of plaintiffs should not

be allowed to defeat diversity jurisdiction.”) (citing Tapscott, 77 F.3d at 1360). Based on this

precedent, “most district courts within [the Fifth] Circuit have taken the position that the Fifth

Circuit has adopted, or at least appears to have adopted,” the fraudulent misjoinder doctrine.

Palermo v. Letourneau Techs., Inc., 542 F. Supp. 2d 499, 515 (S.D. Miss. 2008) (collecting

cases). As explained above, Plaintiff’s claims against the Manufacturer and Dealer Defendants

are factually distinct from, and therefore are misjoined with, the claims against the Distributor

Defendants.

       35.     Notably, in opioid-related cases like this one, a federal district court recently

relied on the fraudulent misjoinder doctrine to ignore the citizenship of non-diverse defendants

and deny remand based on diversity jurisdiction. See Cnty. Comm’n of McDowell Cnty. v.

McKesson Corp., 2017 WL 2843614, at *5 (S.D. W. Va. July 3, 2017); City of Huntington v.



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AmerisourceBergen Drug Corp., 2017 WL 3317300, at *4-5 (S.D. W. Va. Aug. 3, 2017). In

McDowell County, the plaintiff filed suit in state court against diverse distributors of opioid

products for allegedly “flood[ing] McDowell County with opioids well beyond what was

necessary to address pain and other [legitimate] reasons,” and also against a non-diverse doctor

for allegedly “provid[ing] written opioid prescriptions for patients, knowing that the drugs were

likely to be abused, diverted or misused.” 2017 WL 2843614, at *1. The court found that these

claims were fraudulently misjoined and accordingly denied remand because “plaintiff’s claims

against the [distributors] and the claims against [the doctor]” lacked “common questions of law

or fact” and were “separate and distinct.” Id. at *5. In City of Huntington, the court reached the

same conclusion for substantially the same reasons. 2017 WL 3317300, at *5 (claims against

diverse and non-diverse defendants were “separate and distinct”). If the Court does not sever the

Manufacturer and Dealer Defendants under Rule 21, it should deny remand under the fraudulent

misjoinder doctrine.

II.    THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.

       36.     “[A] defendant’s notice of removal need include only a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating

Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014). “[W]hen a defendant seeks federal-court

adjudication, the defendant’s amount-in-controversy allegation should be accepted when not

contested by the plaintiff or questioned by the court.” Id. at 553.

       37.     In its Petition, Plaintiff seeks “all measures of actual damages” and “punitive and

exemplary damages to the fullest extent permitted by law.” (Pet. Prayer for Relief ¶¶ b-c.)

Plaintiff claims the economic burden caused by opioid abuse in the United States is at least $78.5

billion (Pet. ¶ 78) and that Plaintiff has incurred “excessive costs to treat the opioid epidemic,

including but not limited to, increased costs of social services, health systems, law enforcement,
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judicial system, and treatment facilities.” (Id. ¶ 119(c).) Given these allegations, it is plausible

to conclude the amount in controversy exceeds $75,000, exclusive of interest and costs.

III.    ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED.

        A.     The Notice of Removal is timely.

        38.    This Notice of Removal is timely filed.         McKesson Medical-Surgical Inc.,

Cardinal Health 414 LLC, and Cardinal Health 200 LLC received the Petition through service on

January 24, 2018. AmerisourceBergen Drug Corporation, McKesson Corporation, and Cardinal

Health 110 LLC received the Petition through service on January 25, 2018.              Because the

Distributor Defendants filed the Notice of Removal on February 16, 2018, removal is timely.

See 28 U.S.C. § 1446(b)(1); Fed. R. Civ. P. 6(a)(1)(C).

        B.     All properly joined and served defendants consent to removal.

        39.    For purposes of removal based on diversity jurisdiction under 28 U.S.C. § 1332(a)

and pursuant to 28 U.S.C. § 1446(b), all defendants who have been properly joined and served

must consent to removal.

        40.    All of the Distributor Defendants consent to removal, as indicated by their signing

below: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., Cardinal Health 110 LLC,

Cardinal Health 414 LLC, Cardinal Health 200 LLC, and McKesson Corporation.

        41.    Because the Manufacturer and Dealer Defendants are not properly joined, their

consent to removal is not required. See 28 U.S.C. § 1446(b)(2)(A); Jernigan v. Ashland Oil Inc.,

989 F.2d 812, 815 (5th Cir. 1993) (explaining that a defendant seeking removal based upon

diversity jurisdiction did not need the consent of improperly or fraudulently joined parties “as

removal in those cases is based on the contention that no other proper defendant exists”); see

also, e.g., Breitling v. LNV Corp., 86 F. Supp. 3d 564, 570 (N.D. Tex. 2015); Coffman v. Dole

Fresh Fruit Co., 927 F. Supp. 2d 427, 433 (E.D. Tex. 2013).

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        42.     By filing this Notice of Removal, the Distributor Defendants do not waive any

defense that may be available to them and reserve all such defenses. If any question arises as to

the propriety of the removal to this Court, the Distributor Defendants request the opportunity to

present a brief and oral argument in support of their position that this case has been properly

removed.

        C.      Notice of Removal.

        43.     Pursuant to 28 U.S.C. § 1446(d), the Distributor Defendants will give written

notice of the filing of this Notice of Removal to all adverse parties of record in this matter, and

will file a copy of this Notice with the clerk of the state court.

                                           CONCLUSION

        WHEREFORE, the Distributor Defendants hereby remove this action from the 133rd

Judicial District Court of Harris County, Texas, to the United States District Court for the

Southern District of Texas, Houston Division.


        Dated this the 16th day of February, 2018.

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        I hereby certify that counsel of record are being served with a copy of this document on
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